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UNITE]) STATES DISTRICT COURT F||_ED B"t»' m D_C,

 

WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 AUG -3 M 2: 59
JANE'I` SHIRLEY, as Surviving Spouse, and for WO}MS M_ §§de

   
 

the estate of .]ERRY SHIRLEY, Deceased, CLEHK, llS l.`f§l”-?§'T GURT

JAsoN sHIRLEY, JAYANN sHIRLEY \'~J!D .G i_.‘F*-“S
And JANA SHIRLEY, children of Deceased,
JERRY sHIRLEY,
Plaintiffs,
v. CAsE No.: 03 2679 B P

THE GO()DYEAR TIRE & RUBBER COMPANY,

An Ohio corporation, GOODYEAR DUNLOP TIRES
NORTH AMERICA, LTD., an Ohio Limited

Liability Company, and DUNLOP TIRE CORPORATION,
a Delaware Corporation,

Defendants

 

-[~PR:QPQSE-B']' ORDER GRANTING DEFENDANTS’ MOTION
FOR LEAVE TO FILE SURREPLY RE: PLAINTIFFS’ MOTION TO C()MPEL

 

This cause came to be heard upon Defendants’ Motion for leave to file a Surreply to
Plaintiff‘s Reply to Defendants’ Opposition to Plaintiffs’ Motion to Compel. For those reasons
set foith in Defendants’ l\/lotion, it appears to the Court that the Motion is Well taken and should
be granted

]T IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that Defendants’
Motion for Leave to tile a Surreply should be and is hereby GRANTED;

lT lS FURTHER ORDERED, ADJUDGED AND DECREED that Defendants’ Motion

for Leave to tile a Surreply shall be accepted by the Court as Defendants’ Surreply without the

need for filing a further pleading M

JUDGE

DATE: AuajM/l' '€F H\s"

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Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
case 2:03-CV-02679 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

